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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 DEMOND WESTON,

                       Plaintiff,

                v.                                      Case No._____________

 CITY OF CHICAGO, ESTATE OF MICHAEL                     JURY TRIAL DEMANDED
 KILL, ANTHONY MASLANKA, WILLIAM
 MOSER, JOHN PALADINO, DAN
 MCWEENY, ANDREW CHRISTOPHERSON,
 JEROME RUSNAK, VICTOR BRESKA, and
 UNKNOWN EMPLOYEES OF THE CITY OF
 CHICAGO,

                       Defendants.


                                         COMPLAINT

       Plaintiff Demond Weston, by his attorneys, Loevy & Loevy, complains of defendants

City of Chicago, Estate of Michael Kill, Anthony Maslanka, William Moser, John Paladino, Dan

McWeeny, Andrew Christopherson, Jerome Rusnak, Victor Breska, and Unknown Employees of

the City of Chicago and states as follows:

                                       INTRODUCTION

       1.      In June 1990, 17-year-old Demond Weston falsely confessed to murder and

attempted murder, crimes of which he is wholly innocent. That false confession led to his

wrongful conviction and 29 years in prison before he was exonerated.

       2.      Weston’s arrest and false confession, like too many others in the City of Chicago,

were the product of abuse by police detectives working under Commander Jon Burge. Defendant

Chicago Police detectives Michael Kill, Anthony Maslanka, William Moser, and others held

Weston for more than 12 hours without food or water. They beat him, threatened to kill him and
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called him racial slurs. After hours of abuse, Weston signed a false confession implicating

himself in two crimes he did not commit.

       3.      Not one piece of physical evidence ever connected him to the crimes.

       4.      After nearly three decades fighting for his freedom, having spent well over half

his life in prison, Weston was finally exonerated. He will never recover that lost time. But he

brings this lawsuit seeking justice for the harms Defendants inflicted on him and the systemic

abuse that allowed his wrongful conviction to happen.

                                 JURISDCTION AND VENUE

       5.      Weston brings this action pursuant to 42 U.S.C. § 1983 and Illinois law to redress

Defendants’ tortious conduct and the deprivation under color of law of his rights secured by the

United States Constitution.

       6.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and § 1367.

       7.      Venue is proper under 28 U.S.C. § 1391(b). Plaintiff resides in this judicial

district and the events and omissions giving rise to his claims occurred here.

                                            PARTIES

       8.      Plaintiff Demond Weston is a 47-year-old resident of Chicago, Illinois. He spent

29 years in jail and prison for a murder he did not commit.

       9.      At all times relevant to the events described in this complaint, Defendants

Anthony Maslanka, William Moser, John Paladino, Dan McWeeny, Andrew Christopherson,

Jerome Rusnak, and Victor Breska were police officers employed by the Chicago Police

Department and the City of Chicago.

       10.     Michael Kill was also a police officer employed by the Chicago Police

Department and the City of Chicago at all relevant times. Kill died in 2018.



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         11.   Defendant Unknown Employees of the City of Chicago also participated in the

misconduct alleged in this complaint.

         12.   Defendant City of Chicago is a municipal corporation that is or was the employer

of the above-named defendants.

         13.   Each of the individually-named defendant police officers and Michael Kill

(hereafter the “Defendant Officers”) acted under color of law and within the scope of his

employment at all times relevant to this lawsuit. Each individual Defendant is sued in his or her

individual capacity.

                                             FACTS

                                           The Crimes

         14.   On May 29, 1990, around 10 p.m., three separate shootings occurred on

Chicago’s south side.

         15.   First, at 57th Street and Wolcott Avenue, 19-year-old Joseph Watson was shot to

death and 14-year-old Timothy Jones was shot in the leg.

         16.   Another shooting occurred a mile away at 5530 South Justine Street. There,

Ronald Nesbit and his friend, 20-year-old Deneen Coats, were shot and injured.

         17.   Third, at 58th Street and Honore Street, J.D. Lee, Pierre Solomon, and Derek L.

Mason were shot and injured.

         18.   About 10 days later, on June 8, 1990, Curtis Sims was shot and killed on the south

side.

         19.   Demond Weston did not know any of the victims of these crimes, and he was not

involved in the crimes in any way.




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                                     The Police Investigation

       20.       Defendant Officers investigated the three May 29 shootings and the shooting on

June 8, 1990.

       21.       Police interrogated numerous witnesses during their investigation of the May 29

shootings. None of those witnesses mentioned Demond Weston.

       22.       On June 9, 1990, Defendant Kill received information that a man named Dwayne

Macklin was involved in the Sims murder the night before.

       23.       That same day, CPD raided Macklin’s house and arrested him and William

Childs. A third suspect, who Macklin identified as Vic “Cortez” Brown, fled from the house and

evaded police.

                            Defendant Officers Falsely Arrest Weston

       24.       On June 9, 1990, 17-year-old Demond Weston was walking from his house to the

store around noon.

       25.       Weston was suddenly confronted by two rapidly approaching unmarked cars,

which came to a halt in front of him.

       26.       Defendant Kill, wearing plainclothes, jumped out of one of the cars with his gun

drawn. Defendants Breska and Rusnack were also present.

       27.       Kill searched Weston, but found no evidence of any crime.

       28.       Nevertheless, Defendant Officers handcuffed Weston and put him in the back of

one of the police cars.

       29.       Defendant Officers did not inform Weston of his Miranda rights or explain why

he was being arrested.

       30.       Defendant Officers took Weston to the to the Area 3 Detective Headquarters,



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where Jon Burge was Commander.

                          Defendants Interrogate Weston For Hours

       31.     At Area 3, Defendant Officers locked Weston in an interrogation room and

handcuffed him to a chair. He was not allowed to call his mother nor was he read his Miranda

rights; and despite asking several times, he was not told why he’d been arrested.

       32.     For hours, Defendant Officers including Kill, Moser, and Maslanka interrogated

Weston about the June 8 murder of Curtis Sims.

       33.     Weston truthfully told Defendants he knew nothing about the Sims murder and

was not involved in the shooting in any way.

       34.     As many as eight officers, including Defendants Kill, Moser, and Maslanka,

surrounded 17-year-old Weston, who was still handcuffed to a chair, locked in an interrogation

room, and held incommunicado.

       35.     Defendant Officers including Kill, Moser, and Maslanka physically abused

Weston and yelled at him in an effort to coerce Weston into falsely confessing his involvement

in the Sims murder.

                 Defendants Coerce Weston Into Signing A False Confession

       36.     After Weston had been at Area 3 for hours, Defendant Officers began accusing

him of the three unsolved shootings that had occurred on May 29, 1990.

       37.     Weston truthfully told Defendant Officers he did not commit or witness those

shootings.

       38.     Defendant Officers, including Moser, falsely told Weston that they found

evidence connecting him to the May 29 shooting. They expressed anger, used violence, and

employed tactics that improperly overcame Weston’s will.



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       39.     Terrified, injured, and physically and emotionally exhausted, 17-year-old Weston

agreed to give a recorded statement to an Assistant State’s Attorney (ASA) falsely implicating

himself in the May 29 shootings.

       40.     Defendant Officers including Moser told Weston exactly what to say to the ASA.

       41.     The statement Weston gave said that he participated in a meeting with members

of the Gangster Disciples to plan an attack on rival gang the Vice Lords on May 29, 1990. The

statement said that Weston had a gun and fired the gun twice “towards,” but not at, one of the

men who was shot on 57th Street.

       42.     The facts in the statement were entirely fabricated by and fed to Weston by

Defendant Officers, including Moser.

       43.     Weston’s confession was signed at 1:35 a.m. on June 10, 1990.

       44.     On information and belief, each Defendant Officer was present at some point

during Weston’s interrogation and participated in the coercion that resulted in his false statement.

       45.     At all times, Defendant Officers knew Weston had no involvement in the May 29

shootings.

       46.     After signing the confession, Weston was not immediately transported home, as

Defendant Officers had promised.

       47.     Instead, Weston was charged with murder and attempted murder for two of the

May 29 shootings: the crimes that occurred on 55th Street and 57th Street.

                Defendant Officers Coerce Witnesses into Implicating Weston

       48.     While Defendant Officers were interrogating Weston, they were also interrogating

Macklin.

       49.     As with Weston, Defendant Officers used physical and psychological abuse to



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coerce Macklin into signing a statement falsely implicating Weston in the May 29 shooting at

57th Street, which resulted in Watson’s murder.

       50.     Macklin ultimately signed a false statement implicating Weston in that crime.

       51.     The statement contained the same fabricated account of a planning meeting

between Weston and members of the Gangster Disciples that was set out in Weston’s fabricated

statement.

       52.     The information in Macklin’s statement implicating Weston was made up and fed

to Macklin by Defendant Officers including Kill.

       53.     Defendant Officers knew Macklin’s statement was fabricated because Macklin

was unable to tell them anything about Weston’s alleged involvement and because they provided

the information that was included in his statement.

       54.     In addition, using improper and suggestive tactics, Defendant Officers later

coerced Deneen Coats into falsely identifying Weston as the person who shot her and Nesbit on

55th Street on May 29, 1990.

       55.     Defendant Officers knew Coats’s identification was false because they instructed

her to select Weston’s photograph from the lineup.

                       Plaintiff’s Wrongful Prosecution and Conviction

       56.     Defendant Officers fabricated police reports to cover up their misconduct, and

they provided those false reports to state prosecutors.

       57.     Defendant Officers’ reports and fabricated statements became the basis for

charging and prosecuting Weston.

       58.     In 1992, as a result of Defendants’ misconduct and based on the false evidence

described in this complaint, Weston was prosecuted for two of the three shootings on May 29,



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1990: the 57th Street shooting that resulted in Joseph Watson’s death and injured Timothy Jones;

and the 55th Street shooting that wounded Ronald Nesbit and Deneen Coats.

       59.     Defendant Officers hid their fabrication of evidence from prosecutors and from

Weston’s defense before his trial, and they suppressed all evidence that exonerated Weston.

       60.     Defendant Officers gave false statements to state prosecutors, and Kill provided

false testimony at Weston’s trial.

       61.     The only evidence introduced at Weston’s trial implicating him in the murders

was the material Defendant Officers fabricated and coerced.

       62.     Because of Defendants’ false and manufactured evidence, Plaintiff was

wrongfully convicted and sentenced to 75 years in prison.

       63.     He was 19 years old at the time, and he was completely innocent, as Defendants

well knew.

                                      Plaintiff’s Exoneration

       64.     After his conviction, Plaintiff fought hard to prove his innocence. He filed a direct

appeal, multiple petitions for post-conviction relief, and a petition for a writ of habeas corpus.

       65.     In 2014, Weston petitioned for a new trial, detailing Defendant Officers’ abuse

during his interrogation. By this time, Jon Burge and his disciples had risen to notoriety for

coercing false confessions from innocent, young, Black boys and men using physical and

psychological abuse.

       66.     Weston’s motion for new trial was granted in 2016. However, prior to the trial

taking place, Special Prosecutor Robert Milan moved to vacate Weston’s conviction and dismiss

all charges against him.

       67.     On December 19, 2019, after nearly 30 years in prison, the 47-year-old Weston



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was finally freed.

               Policy and Practice of Wrongly Convicting Innocent Individuals

       68.     The Chicago Police Department is responsible, by virtue of its official policies,

for inflicting miscarriages of justice in scores of incidents like the one Weston endured.

       69.     Since 1986, at least 150 cases have come to light in which Chicago police officers

fabricated false evidence or suppressed exculpatory evidence to cause the convictions of an

innocent person for serious crimes he did not commit.

       70.     These cases include many in which Chicago police officers used the same tactics

Defendants employed against Plaintiff in this case, including fabricating evidence, concealing

exculpatory evidence, manipulating eyewitness identifications and testimony, and using other

tactics to secure the arrest, prosecution, and conviction without probable cause and without

regard for the person’s actual guilt or innocence.

       71.     The CPD’s policy and practice of misconduct was recently described in a Federal

Bureau of Investigation FD-302 Report of an interview with Assistant State’s Attorney Terence

Johnson. The Report documents, among other things, that in the 1990s Chicago police detectives

fed information to witnesses and coached them through court-reported and handwritten

statements, coerced witnesses into sticking to a detective’s theory of the case, physically abused

witnesses, and worked together to develop and rehearse false narratives so there were no

inconsistencies in the witnesses’ stories.

       72.     At all relevant times, members of the Chicago Police Department, including

Defendants in this action, systematically suppressed exculpatory and/or impeaching material by

intentionally secreting discoverable reports, memos, and other information. This concealed

material was kept in files that were maintained only at the police department and never disclosed



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to the participants of the criminal justice system. As a matter of widespread custom and practice,

these clandestine files were withheld from the State’s Attorney’s Office and from criminal

defendants, and they were routinely destroyed or hidden at the close of the investigation rather

than being preserved as part of the official file.

       73.     Consistent with the municipal policy and practice described in the preceding

paragraph, employees of the City of Chicago, including the named Defendants, concealed

exculpatory evidence from Plaintiff.

       74.     The existence of this policy and practice of suppressing exculpatory and/or

impeaching material in clandestine files was established in the cases of, inter alia, Rivera v.

Guevara, No. 12 C 4428 (N.D. Ill.), Fields v. City of Chicago, No. 10 C 1168 (N.D. Ill.), and

Jones v. City of Chicago, No. 87 C 2536 (N.D. Ill.).

       75.     The policies and practices of suppressing exculpatory and/or impeaching evidence

at issue in Rivera, Fields, and Jones applied throughout the timeframe from the 1980s through

the 2000s, including at the time of the Sims and Watson murder investigations at issue here.

       76.     In addition, the City of Chicago and the Chicago Police Department routinely

failed to investigate cases in which Chicago police detectives recommended charging an

innocent person with a serious crime, and no Chicago police officer has ever been disciplined as

a result of his misconduct in any of those cases.

       77.     Before and during the period in which Plaintiff was falsely charged with and

convicted of the Watson murder, the City of Chicago also operated a dysfunctional disciplinary

system for Chicago police officers accused of serious misconduct. The City almost never

imposed significant discipline against police officers accused of violating the civil and

constitutional rights of members of the public. Further, the disciplinary apparatus had no



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mechanism for identifying police officers who were repeatedly accused of engaging in

misconduct.

        78.     The U.S. Department of Justice recently issued a report finding that there were

“engrained deficiencies in the systems CPD uses to provide officers with supervision and

training.” In particular, on the subject of training, the DOJ concluded that the “CPD’s inattention

to training needs, including a longstanding failure to invest in the resources, facilities, staffing,

and planning required to train a department of approximately 12,000 members, leaves officers

underprepared to police effectively and lawfully. Officer errors and misconceptions that result

from lack of training are not corrected in the field, because CPD has neither structured

supervision in a way that will adequately support officers, nor invested in programs and systems

that will detect when officers are in need of help or exhibiting behavior that must be corrected.

Officers’ ability to stay safe, protect public safety, and police within constitutional standards

suffers as a result.”

        79.     On the subject of supervision, the DOJ concluded among other things that

“[i]nstead of encouraging the chain of command to instill proper policing tactics and respect for

constitutional policing in CPD officers, CPD provides little incentive, or even opportunity, for

supervisors to meaningfully guide and direct CPD officers. CPD provides even less incentive for

supervisors to hold officers accountable when they deviate from CPD policy and the law. The

City has long known that CPD’s direct supervision of officers is inadequate, including through

the fact that multiple reports in the last two decades have highlighted deficiencies in CPD’s

supervisory practices. Yet, City and CPD leadership have not made the necessary reforms to

CPD’s supervision structure and processes, and community and officer safety suffer as a result.”

        80.     The DOJ “confirmed that CPD’s accountability systems are broadly ineffective at



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deterring or detecting misconduct, and at holding officers accountable when they violate the law

or CPD policy.” In particular, the Department of Justice found that the City failed to investigate

nearly half of misconduct complaints; where investigations did occur, there were “consistent

patterns of egregious investigative deficiencies”; and where misconduct complaints were

sustained, discipline was inconsistent and unpredictable.

        81.     Similarly, the Chicago Police Accountability Task Force reported in April 2016

that “[g]oing back years, and continuing to the present day, CPD has missed opportunities to

make accountability an organizational priority.” Between 2004 and 2016, the City recommended

disciplinary action in fewer than 4% of cases in which it paid settlements to plaintiffs alleging

violation of their civil rights, and did not conduct any disciplinary investigations in over half of

those cases.

        82.     Since before Weston’s arrest and continuing for years afterward, municipal policy

makers and department supervisors condoned and facilitated a code of silence within the

Chicago Police Department. In accordance with this code, officers refused to report and

otherwise lied about misconduct committed by their colleagues, including the misconduct at

issue in this case.

        83.     Charlie Beck, the former interim superintendent of the CPD, recently

acknowledged the existence of the CPD’s code of silence.

        84.     As a result of the City of Chicago’s established practices, Defendant Officers

came to believe that they may violate the civil rights of members of the public and cause

innocent persons to be charged with serious crimes without fear of adverse consequences. The

practices that enable this belief include failing to track and identify police officers who are

repeatedly accused of serious misconduct, failing to investigate cases in which the police are



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implicated in a wrongful charge or conviction, failing to discipline officers accused of serious

misconduct, and facilitating a code of silence within the Chicago Police Department. As a result

of these policies and practices of the City of Chicago, members of the Chicago Police

Department act with impunity when they violate the constitutional and civil rights of citizens.

       85.     Defendant Officers engaged in such misconduct because they had no reason to

fear that the City of Chicago and its police department would ever discipline them for doing so.

       86.     These Defendants also worked in Area 3 alongside notorious Chicago Police

Detective Burge, whose long history of engaging in the kind of investigative misconduct that

occurred in this case, including manipulating eyewitness identifications and fabricating and

concealing evidence in the course of maliciously prosecuting innocent persons, is well-known

and widely acknowledged.

       87.     There are dozens of known cases in which Burge, his partners, his colleagues, and

other Chicago police officers engaged in the serious investigative misconduct described above.

They engaged in such misconduct because they had no reason to fear that their supervisors

would ever discipline them for doing so.

       88.     The City of Chicago and its police department also failed in the years prior to

Weston’s conviction to provide adequate training to Chicago police detectives and other officers

in many areas, including the following:

       a.      The conduct of live lineup, photographic, and other identification procedures.

       b.      Preserving material evidence, such as photographic arrays used for identification

               purposes;

       c.      The constitutional requirement to preserve and disclose exculpatory evidence,

               including how to identify such evidence and what steps to take when exculpatory



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               evidence has been identified in order to ensure that the evidence is made part of

               the criminal proceeding.

         d.    The need to refrain from physical and psychological abuse, and manipulative and

               coercive conduct, in relation to suspects and witnesses.

         e.    The risks of wrongful conviction and the steps police officers should take to

               minimize risks.

         f.    The risks of engaging in tunnel vision during investigation.

         g.    The need for full disclosure, candor, and openness on the part of all officers who

               participate in the police disciplinary process, both as witnesses and as accused

               officers, and the need to report misconduct committed by fellow officers.

         89.   The need for police officers to be trained in these areas was and remains obvious.

The City’s failure to train Chicago police officers as alleged in the preceding paragraph caused

Weston’s wrongful conviction and his injuries.

         90.   The City’s failure to train, supervise, and discipline its officers, including

Defendants Kill, Maslanka, Moser, Paladino, Mcweeny, Christopherson, Rusnak, and Breska,

condones, ratifies, and sanctions the kind of misconduct that the Defendants committed against

Weston in this case. Constitutional violations such as those that occurred in this case are

encouraged and facilitated as a result of the City’s practices and de facto polices, as alleged

above.

         91.   The City of Chicago and final policymaking officials within the Chicago Police

Department failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated the unlawful




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practices and ensured that no action would be taken (independent of the judicial process) to

remedy Plaintiff’s ongoing injuries.

       92.     The policies and practices described in the foregoing paragraphs were also

approved the City of Chicago policymakers, who were deliberately indifferent to the violations

of constitutional rights described herein.

       The Defendant Officers’ Pattern of Misconduct that Extended to Mr. Weston

       93.     In addition, Defendant Officers’ abuse and coercion in investigating the May 29,

1990 shootings was not an isolated incident. On the contrary, each individual defendant engaged

in a pattern of similar misconduct that extended to Weston and continued after his interrogation.

       94.     Before Weston’s interrogation, Kill, for example, coerced confessions from

dozens of innocent people using the same methods he applied to Weston.

       95.     Kill has testified that in about 90% of the murder cases he worked on in which the

suspects confessed (about 1500 cases), the defendants filed motions to suppress alleging Kill

coerced their confessions using physical force.

       96.     Kill has invoked his Fifth Amendment privilege against self-incrimination when

asked to testify about his interrogations of suspects.

       97.     Furthermore, the 2006 report on the torture victims of Jon Burge by Special

Prosecutors Edward Egan and Robert Boyle (the “Egan Report”) documented numerous abuses

perpetrated by Kill, Maslanka, and Moser in the 1980s and 90s. The report includes allegations

that these Defendants beat and threatened arrestees into confession, hit them with objects

including guns, phones, flashlights, cords, nightsticks, fists and feet, kept them awake until they

signed confessions, electrocuted them, repeatedly called arrestees “niggers” and conducted

lineups of juvenile suspects without notifying their parents. See Egan & Boyle, Report of the



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Special State's Attorney, Volume C, 275-90 (2006). See also Egan & Boyle, Special Prosecutor

Investigation Reports, Volume D, 17; Volume F, 23-25; Volume G. 21-44; Volume K, 9-17;

Volume L, 35-46; Volume N, 1-6 (2006).

        98.    Regarding Defendant Maslanka specifically, the Report concluded beyond a

reasonable doubt that a suspect he was interrogating—Alfred Pinex—soiled himself as a result of

Maslanka’s physical abuse, and that Maslanka perjured himself when he testified at Pinex’s

sentencing hearing. See Egan & Boyle, Report of the Special State's Attorney, at Volume C, 275-

90.

        99.    Likewise, The Illinois First District Appellate Court has found that “[n]umerous

officers under the command of Burge, including officer[] . . . McWeeney [sic], have been

implicated in many of . . . instances of physical abuse.”

        100.   The Illinois Supreme Court in People v. Patterson, 192 Ill. 2d 93 (2000), for

example, cited “[e]ight cases involv[ing] McWeeny, who was usually identified as an officer

who appeared to take a statement from the victim after the torture had been completed.” Indeed,

courts have described McWeeny as taking on the “good cop” role in interrogations.”

        101.   Cortez Brown, the same Brown who evaded arrest following Defendants’ raid of

Dwayne Macklin’s house, was freed from prison after a post-conviction hearing at which Kill

and Maslanka asserted their Fifth Amendment right to silence rather than testify about their

interrogation of Brown, on grounds that truthful statements could implicate them in a crime.

        102.   Likewise, Defendant McWeeny played a role in all four pardons based on

innocence granted by Governor Ryan in 2003.

        103.   Defendant McWeeny was also implicated in at least 11 cases of abuse as

established by the 2007 follow-up “Report on the Failure of Special Prosecutors Edward J. Egan



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and Robert D. Boyle to Fairly Investigate Police Torture in Chicago.”

          104.   In addition, McWeeny is mentioned in the Report as a participant in the beating of

Madison Hobley and playing a role in the torture of Stanley Howard and Aaron Patterson.

          105.   The Report also concluded that Melvin Jones was telling the truth about his claim

of torture during an investigation in which McWeeny was involved.

          106.   Further, in 2007, Cook County Judge Sumner pointed to “evidence presented by

petitioner [James Andrews], which includes an OPS report, Appellate and Supreme Court

opinions regarding the systematic brutality at Area 2, other incidences of torture at Area 2, and in

particular at the hands of Detective McWeeny” in vacating Andrews’ conviction based on the

detectives’ wrongdoing.

          107.   Moreover, TIRC has referred to Defendant McWeeny as a “well-known Burge

subordinate.” As of July 25, 2013, TIRC noted that “McWeeny has been accused in 14 other

cases of abuse and coercion of suspects in police custody” in crediting Robert Smith’s torture

claims.

          108.   TIRC also determined in 2017 that Javan Deloney presented “sufficient evidence

of torture” by Defendant McWeeny.

          109.   Like Kill, Defendant McWeeny has asserted the Fifth Amendment protection

against self-incrimination when questioned about abusing suspects in police custody. For

example, McWeeny asserted his Fifth Amendment rights in connection with his participation in

TyShawn Ross’s conviction in response to this question: “Did you on or about June 4, 1991,

participate in, witness, or otherwise become aware of the arrest, transport, interrogation, beating,

threatening, placing a bag over the head of, electric shocking and/or any other physical or

psychological abuse of arrestee TyShawn Ross?”



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       110.   Examples of abuses by Defendant Officers also include the following, all of

which are corroborated by sworn testimony:

          a. On November 2, 1983, Defendant McWeeny, Jon Burge, and other CPD

              detectives tortured Darrell Cannon while interrogating him for the murder of

              Darrin Ross, a crime he did not commit. McWeeny participated in shoving a

              cattle prod into Cannon’s mouth until he agreed to falsely confess, among other

              abuse. Defendant McWeeny later perjured himself, denying in court that Cannon

              was abused.

          b. Around September 1987, Defendant McWeeny and others interrogated Robert

              Smith in connection with a double murder. Defendant McWeeny beat Smith in

              the chest. Smith falsely confessed to the murder because of McWeeny’s and other

              detectives’ abuse. In 2013, TIRC found Smith’s claim credible based, in part, on

              hospital records that substantiated the physical abuse.

          c. In June 1989, Defendant McWeeny and others physically and psychologically

              abused 19-year-old Corey Batchelor and his friend Kevin Bailey until each

              confessed to a murder of which they were innocent. McWeeny and others

              punched, kicked, and choked Batchelor; banged his head into a wall; deprived

              him of sleep; isolated him from family and attorneys; threatened to kill him; and

              made false promises of leniency over the course of an interrogation that lasted

              over 24 hours. After Batchelor served more than 15 years in prison, the State

              dismissed the charges against him and his conviction was vacated.

          d. In June 1991, Defendant McWeeny, Jon Burge, and other officers at Area 3, beat,

              shocked, and tortured Keith Walker over the course of two days. McWeeny later



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               assembled a suggestive photo lineup and coerced multiple witnesses into falsely

               implicating Walker in a murder. Thereafter, McWeeny and others coerced Walker

               into signing a false confession under threats of further torture.

           e. In 1991, Kill physically and psychologically abused 15-year-old Anthony Jakes,

               holding him at Area 3 incommunicado without food or water for more than 16

               hours until he falsely confessed to participating in the murder of Rafael Garcia.

               Jakes was exonerated more than 20 years later and awarded a certificate of

               innocence by the State of Illinois.

           f. In November 1992, Defendant Christopherson and others induced Harold Hill,

               Dan Young, and Peter Williams to provide interlocking confessions to raping and

               killing a woman. Williams was incarcerated at the time of the crime, and was

               therefore never charged. But Hill and Young were convicted based on confessions

               that implicated the undeniably innocent Williams. DNA evidence later exonerated

               them.

           g. In 1994, Defendant Moser and other officers beat Anthony Williams into falsely

               confessing to murder and armed robbery.

                                        Weston’s Damages

       111.    Weston spent 29 years of his life in prison and jail for a crime he did not commit.

       112.    For 29 years, Weston was threatened and attacked by guards and inmates,

experienced physical injuries, and lived in constant fear for his life.

       113.    Additionally, the emotional pain and suffering Defendants’ misconduct caused

has been, and continues to be, substantial.




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       114.     Because of Defendants’ misconduct, Weston was taken away from, and missed

out on, the lives of his family and his friends. Weston was only 17 years old when he was

arrested, and 19 years old when he was sentenced to 75 years in prison. He was robbed of

opportunities to gain an education, to establish and develop a career, and to pursue his interests

and passions.

       115.     Weston has been deprived of all the basic pleasures of human experience, which

all free people enjoy as a matter of right, including the freedom to live one’s life as an

autonomous human being.

       116.     Weston lived in constant emotional anguish, never knowing whether the truth

would come out and whether he would ever be exonerated.

       117.     In addition to the severe trauma of wrongful imprisonment and Weston’s loss of

liberty, Defendants’ misconduct continues to cause Weston extreme physical and psychological

pain and suffering, humiliation, constant fear, nightmares, anxiety, depression, despair, rage, and

other physical and psychological effects. Weston has also suffered profound and continuing

reputational harm as a result of being labeled a murderer.

                                        COUNT I
   42 U.S.C. § 1983 – Coerced and False Confession in Violation of the Fifth Amendment

       118.     Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       119.     In the manner described more fully above, Defendant Officers, individually,

jointly, and in conspiracy with each other, under color of law and within the scope of their

employment, forced Plaintiff to incriminate himself falsely and against his will, in violation of

his rights secured by the Fifth Amendment.

       120.     As described more fully above, Defendant Officers participated in, encouraged,

advised, and ordered Plaintiff’s unconstitutional and unlawful interrogation that caused him to

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make involuntary and false statements implicating himself in the murder of Joseph Watson.

       121.      The coerced, involuntary, false statement Defendant Officers fabricated and

attributed to Plaintiff was used against him to his detriment in a criminal case.

       122.      The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with malice and reckless indifference to the rights of others, and with

total disregard for the truth and Plaintiff’s clear innocence.

       123.      As a result of Defendants’ misconduct described in this count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

       124.      Plaintiff’s injuries were caused by the policies, practices, and customs of

Defendant City of Chicago.

       125.      At all relevant times and before the events giving rise to this lawsuit occurred, the

City of Chicago promulgated rules, regulations, policies, and procedures for the conduct of

interrogation, testing, and questioning of criminal suspects by officers and agents of the Chicago

Police Department. In addition, the City of Chicago promulgated rules, regulations, policies, and

procedures for the training and supervision of officers and agents of the Chicago Police

Department with respect to the conduct of interrogations and the techniques to be used when

questioning criminal suspects.

       126.      These rules, regulations, policies, and procedures were implemented by officers

and agents of the Chicago Police Department, including the Defendant Officers who were

responsible for interrogating suspects and witnesses in connection with the Watson homicide

investigation.

       127.      In addition, at all times relevant to the events described in this pleading and for a



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period of time before those events, Defendant City of Chicago had notice of a widespread

practice by officers and agents of the Chicago Police Department under which individuals like

Plaintiff who were suspected of criminal activity were routinely coerced against their will to

implicate themselves in crimes of which they were innocent. It was common for suspects

interrogated by the Chicago Police Department to falsely confess under extreme duress and after

suffering abuse to committing crimes to which they had no connection and for which there was

scant evidence to suggest they were involved.

       128.    Specifically, at all relevant times and for a period of time before the events giving

rise to this case, there existed a widespread practice among officers, employees, and agents of the

Chicago Police Department under which criminal suspects were coerced to involuntarily

implicate themselves by various means, including but not limited to the following: (a)

individuals, including minors and individuals with mental disabilities and psychiatric conditions,

were subjected to unreasonably long and uninterrupted interrogations, often lasting for many

hours and even days; (b) individuals were subjected to actual and threatened physical and

psychological violence; (c) individuals were interrogated at length without proper protection of

their constitutional right to have an attorney present or to remain silent; (d) individuals were

forced to sign false statements fabricated by the police; (e) officers and employees were

permitted to lead or participate in interrogations without proper training and without knowledge

of the safeguards necessary to ensure that individuals were not subjected to abusive conditions

and did not confess involuntarily or falsely; and (f) supervisors with knowledge of permissible

and impermissible interrogation techniques did not properly supervise or discipline police

officers and employees such that the coercive interrogations continued unchecked.

       129.    These widespread practices were allowed to flourish because the leaders,



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supervisors, and policymakers of the Chicago Police Department directly encouraged and were

thereby the moving force behind the very type of misconduct at issue by failing to adequately

train, supervise, and control their officers, agents, and employees as to proper interrogation

techniques and by failing to adequately punish and discipline prior instances of similar

misconduct, thus directly encouraging future abuses like those that affected Plaintiff.

       130.    The above widespread practices were so well-settled as to constitute de facto

policy of the Chicago Police Department, and were able to exist and thrive because policymakers

with authority exhibited deliberate indifference to the problem, thereby effectively ratifying it.

       131.    In addition, the misconduct described in this Count was undertaken pursuant to

the policy and practice of the City of Chicago in that the constitutional violations committed

against Plaintiff were committed either directly by, or with the knowledge or approval of, people

with final policymaking authority for the Chicago Police Department.

       132.    The policies, practices, and customs set forth above have resulted in numerous

well-publicized false confessions, including the false confession at issue here, where individuals

were convicted of crimes they did not commit after being subjected to abusive interrogation

techniques.

       133.    Plaintiff’s injuries were caused by officers, agents, and employees of the City of

Chicago, including but not limited to the individually-named Defendants who acted pursuant to

the policies, practices, and customs set forth above in engaging in the misconduct described in

this Count.

                                       COUNT II
     42 U.S.C. § 1983 – Coerced Confession in Violation of the Fourteenth Amendment

       134.    Plaintiff incorporates each paragraph of this pleading as if fully restated here.

       135.    In the manner described more fully above, Defendant Officers, individually,

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jointly, and in conspiracy with each other, as well as under color of law and within the scope of

their employment, forced Plaintiff to incriminate himself falsely and against his will, in violation

of his right to due process secured by the Fourteenth Amendment.

       136.    As described in detail above, the misconduct described in this count was carried

out using extreme techniques of physical and psychological coercion and torture against a 17-

year-old boy. This misconduct was so severe as to shock the conscience, it was designed to

injure Plaintiff, and it was not supported by any conceivable governmental interest.

       137.    The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with reckless indifference to the rights of others, and with total

disregard for the truth and Plaintiff’s clear innocence.

       138.    As a result of Defendants’ misconduct described in this Count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

       139.    Plaintiff’s injuries were caused by the policies, practices, and customs of

Defendant City of Chicago in the manner more fully described above.

                                        COUNT III
       42 U.S.C. § 1983 – Violation of Due Process under the Fourteenth Amendment

       140.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       141.    As described more fully above, Defendant Officers, while acting individually,

jointly, and in conspiracy with each other, as well as under color of law and within the scope of

their employment, deprived Plaintiff of his constitutional right to due process and a fair trial.

       142.    In the manner described more fully above, Defendant Officers deliberately

withheld exculpatory and impeachment evidence from Plaintiff, his attorneys, and prosecutors,

among others, thereby misleading and misdirecting Plaintiff’s criminal prosecution.

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         143.   In addition, as described more fully above, Defendant Officers fabricated and

solicited false evidence, including statements and testimony they knew to be false, fabricated

police reports and other evidence falsely implicating Plaintiff, suborned perjury, obtained

Plaintiff’s conviction and continued prosecution using that false evidence, and failed to correct

fabricated evidence they knew to be false when it was used against Plaintiff during his criminal

trial.

         144.   In addition, the Defendant Officers concealed and fabricated additional evidence

that is not yet known to Plaintiff.

         145.   Defendants’ misconduct directly resulted in Plaintiff’s unjust criminal prosecution

and wrongful conviction, thereby denying him his constitutional right to a fair trial guaranteed by

the Fourteenth Amendment. Absent this misconduct, Plaintiff’s prosecution would not and could

not have been pursued.

         146.   The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with malice, with reckless indifference to the rights of others, and with

total disregard for the truth and Plaintiff’s clear innocence.

         147.   As a result of Defendants’ misconduct described in this count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

         148.   Plaintiff’s injuries were caused by the policies, practices, and customs of

Defendant City of Chicago in that employees and agents of the City regularly failed to disclose

exculpatory evidence to criminal defendants, fabricated false evidence implicating individuals in

criminal conduct, elicited false and coerced witness testimony, pursued wrongful convictions

through profoundly flawed investigations, and otherwise violated due process in a manner



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similar to that alleged here.

       149.    The above-described widespread practices were so well-settled as to constitute de

facto policy of the City of Chicago, and were allowed to exist and flourish because municipal

policymakers with authority over the City’s policies exhibited deliberate indifference to the

problem, thereby effectively ratifying the policy.

       150.    The widespread practices described in the preceding paragraphs were allowed to

flourish because the City of Chicago declined to implement sufficient training and any legitimate

mechanism for oversight or punishment of officers and agents who withheld material evidence,

fabricated false evidence and witness testimony, and pursued wrongful convictions.

       151.    Indeed, the Chicago Police Department’s systems for investigating and

disciplining police officers and other employees accused of the type of misconduct that affected

Plaintiff was and is, for all practical purposes, nonexistent. The Department maintained a “code

of silence” that effectively eliminated any form of accountability, discipline, or oversight.

       152.    Chicago police officers and other employees of the City of Chicago who

manufactured criminal cases against individuals like Plaintiff had every reason to know not only

that they enjoyed de facto immunity from criminal prosecution and departmental discipline, but

also that they stood to be rewarded for closing cases no matter what the cost. In this way, the

City proximately caused abuses like the Defendant Officers’ misconduct at issue in this case.

       153.    The misconduct described in this Count was undertaken pursuant to the policy

and practice of the City of Chicago in that the constitutional violations committed against

Plaintiff were committed either directly by, or with the knowledge or approval of, people with

final policymaking authority for the Chicago Police Department.

       154.    The policies, practices, and custom set forth above were the moving force behind



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the numerous constitutional violations in this case and directly and proximately caused Plaintiff

to suffer the grievous and permanent injuries and damages set forth above.

                                       COUNT IV
 42 U.S.C. § 1983 – Malicious Prosecution and Unlawful Pretrial Detention in Violation of
                        the Fourth and Fourteenth Amendments

       155.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       156.    In the manner described more fully above, Defendants, while acting as

investigators, individually, jointly, and in conspiracy with each other, accused Plaintiff of

criminal activity and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so and in spite of the fact that they knew

Plaintiff was innocent.

       157.    In doing so, Defendants caused Plaintiff to be unreasonably seized without

probable cause and deprived of his liberty, in violation of Plaintiff’s rights secured by the Fourth

and Fourteenth Amendments.

       158.    The false judicial proceedings against Plaintiff were instituted and continued

maliciously, resulting in injuries.

       159.    Defendants deprived Plaintiff of fair state criminal proceedings, including the

chance to defend himself during those proceedings, resulting in a deprivation of liberty.

       160.    In addition, Defendants subjected Plaintiff to arbitrary governmental action that

shocks the conscience in that Plaintiff was deliberately and intentionally framed for crimes of

which he was totally innocent. This was accomplished through Defendants’ fabrication and

suppression of evidence.

       161.    The misconduct described in this count was objectively unreasonable and was

undertaken intentionally, with reckless and deliberate indifference to the rights of others, and



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with total disregard of the truth and of Plaintiff’s clear innocence.

        162.       Defendants’ actions were taken under color of law and within the scope of their

employment.

        163.       As a result of Defendants’ misconduct described in this count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, emotional pain and suffering, and

other grievous and continuing injuries and damages as set forth above.

        164.       Defendants’ misconduct described in this count was undertaken pursuant to the

policies, practices, and customs of Defendant City of Chicago, and by Defendants who were

final policymakers for Defendant City of Chicago, in the manner described more fully above.

                                              COUNT V
                                42 U.S.C. § 1983 – Failure to Intervene

        165.       Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

        166.       In the manner described above, during the constitutional violations described

above, one or more of the Defendant Officers stood by without intervening to prevent the

misconduct.

        167.       These Defendants had a reasonable opportunity to prevent harm to Plaintiff, but

failed to do so.

        168.       The misconduct described in this count was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiff’s constitutional rights.

        169.       As a direct and proximate result of the Defendant Officers’ failure to intervene to

prevent the violation of Plaintiff’s constitutional rights, Plaintiff suffered loss of liberty, great

mental anguish, humiliation, degradation, physical and emotional pain and suffering, and other

grievous and continuing injuries and damages as set forth above.

        170.       Defendants undertook the misconduct described in this Count pursuant to the City

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of Chicago’s policies and practices in the manner more fully described above.

                                           COUNT VI
                                  42 U.S.C. § 1983 – Conspiracy

       171.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       172.    All of the Defendant Officers reached an agreement among themselves to frame

Plaintiff for Joseph Watson’s murder and for the attempted murders of Timothy Jones, Deneen

Coats, and Ronald Nesbit, and thereby to deprive Plaintiff of his constitutional rights, as

described in above. This agreement was first reached before arresting Plaintiff for these crimes,

and remained in place throughout all periods of his detention, prosecution, and incarceration.

       173.    In addition, before Plaintiff’s conviction the Defendant Officers conspired, and

after his conviction they continued to conspire, to deprive Plaintiff of exculpatory materials to

which he is entitled and that would have led to his earlier exoneration.

       174.    In this manner, the Defendant Officers, acting in concert with each other and with

other unknown co-conspirators, including people who are and are not members of the Chicago

Police Department, have conspired by concerted action to accomplish an unlawful purpose or a

lawful purpose by unlawful means.

       175.    In furtherance of the conspiracy, each co-conspirator committed overt acts and

was an otherwise willful participant in joint activity.

       176.    As a direct and proximate result of this illicit prior agreement, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

       177.    The misconduct described in this count was objectively unreasonable and was

undertaken intentionally and with willful indifference to Plaintiff’s constitutional rights.

       178.    Defendants undertook the misconduct described in this count pursuant to the City

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of Chicago’s policies and practices in the manner more fully described above.

                                        COUNT VII
                           State Law Claim – Malicious Prosecution

       179.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       180.    In the manner described more fully above, Defendants accused Plaintiff of

criminal activity and exerted influence to initiate, continue, and perpetuate judicial proceedings

against Plaintiff without any probable cause for doing so.

       181.    In so doing, these Defendants caused Plaintiff to be subjected improperly to

judicial proceedings for which there was no probable cause. These judicial proceedings were

instituted and continued maliciously, resulting in injury.

       182.    Plaintiff’s criminal prosecution was terminated in his favor, in a manner

indicative of innocence.

       183.    Defendants’ actions were taken under color of law and within the scope of their

employment.

       184.    As a result of Defendants’ misconduct described in this count, Plaintiff suffered

loss of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

                                       COUNT VIII
                State Law Claim – Intentional Infliction of Emotional Distress

       185.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

       186.    Defendants’ actions, omissions, and conduct, as set forth above, were extreme and

outrageous. These actions were rooted in an abuse of power and authority and were undertaken

with the intent to cause, or with reckless disregard for the probability that they would cause

Plaintiff severe emotional distress, as more fully alleged above.

       187.    As a direct and proximate result of the Defendant Officers’ actions, Plaintiff
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suffered and continues to suffer emotional distress and other grievous and continuing injuries

and damages as set forth above.

                                           COUNT IX
                                State Law Claim – Civil Conspiracy

        188.     Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

        189.     As described more fully above, the Defendant Officers, acting in concert with

other co-conspirators reached an agreement among themselves to frame Plaintiff for a crime he

did not commit and conspired by concerted action to accomplish an unlawful purpose and/or to

achieve a lawful purpose by unlawful means. In addition, these co-conspirators agreed among

themselves to protect each other from liability for depriving Plaintiff of these rights.

        190.     In furtherance of their conspiracy, each co-conspirator committed overt acts and

was otherwise a willful participant in joint activity.

        191.     In furtherance of this conspiracy, a tortious action was committed against

Plaintiff.

        192.     As a result of the Defendant Officers’ misconduct described in this Count,

Plaintiff suffered damages as set forth above.

                                           COUNT X
                              State Law Claim – Respondeat Superior

        193.     Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

        194.     While committing the misconduct alleged in the preceding paragraphs, the

Defendant Officers were employees, members, and agents of the City of Chicago, acting at all

relevant times within the scope of their employment.

        195.     Defendant City of Chicago is liable as principal for all state law torts committed

by its agents.


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                                        COUNT XI
               State Law Claim – Indemnification Pursuant to 745 ILCS 10/9-102

        196.    Plaintiff incorporates each paragraph of this pleading as if restated fully herein.

        197.    Illinois law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        198.    The Defendant Officers were employees, members, and agents of the City of

Chicago, acting at all relevant times within the scope of their employment in committing the

misconduct described herein.

        199.    The City of Chicago is responsible for paying any judgment entered against the

Defendant Officers. Plaintiff therefore demands judgment against Defendant City of Chicago in

the amounts awarded to Plaintiff against the individual Defendants as damages, attorneys’ fees,

costs, and interest.

        WHEREFORE, Plaintiff Demond Weston, respectfully requests that this Court enter a

judgement in his favor and against Defendants the City of Chicago, Estate of Michael Kill,

Anthony Maslanka, William Moser, John Paladino, Dan McWeeny, Andrew Christopherson,

Jerome Rusnak, Victor Breska, and Unknown Employees of the City of Chicago awarding

compensatory damages, attorneys’ fees, and costs against each Defendant, and, because they

acted willfully, wantonly, and/or maliciously, punitive damages against each of the Individual

Defendants, and any other relief that this Court deems just and appropriate.

                                         JURY DEMAND

        Plaintiff Demond Weston hereby demands a trial by jury pursuant to Federal Rules of

Civil Procedure 38(b) on all issues so triable.




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Dated: October 16, 2020               Respectfully submitted,

                                      DEMOND WESTON

                                      By: /s/ Mariah Garcia
                                          One of Plaintiff’s Attorneys

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